Case: 23-1426
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                      United States Court of Appeals
                                       For the First Circuit
                                           _____________________
      No. 23-1426

                                            PRINCE BELO PAYE,

                                                   Petitioner,

                                                       v.

                                MERRICK B. GARLAND, Attorney General,

                                                  Respondent.

                                             __________________

                                                     Before

                                             Barron, Chief Judge,
                                     Gelpí and Rikelman, Circuit Judges.
                                            __________________

                                             ORDER OF COURT

                                             Entered: July 17, 2024

              On Wednesday, January 24, 2024, Petitioner filed a motion seeking an order to facilitate
      his return to the United States from Liberia at the Respondent's expense upon the Court's vacatur
      of the decision of the Board of Immigration Appeals ("BIA"). Petitioner explained in his motion
      that he was removed to Liberia on November 29, 2023 in violation of First Circuit Local Rule
      18.0(1), which states that "[i]f the government has scheduled the removal of a petitioner, then the
      government will file with the Court a notice identifying the earliest date upon which removal may
      be made." In response, Respondent explained that Petitioner's removal in violation of Local Rule
      18.0(1) was due to an unintentional oversight, that it will facilitate his return to the United States
      if he prevailed on his underlying petition, and that requiring it to pay for his travel expenses could
      implicate separation-of-powers concerns. On July 17, 2024, we issued our decision vacating in
      part the BIA's decision.
              This is not the first time in which Respondent has removed a petitioner in violation of Local
      Rule 18.0(1). See Guerra-Castaneda v. Garland, No. 19-1736 (1st Cir. Sept. 14, 2019); Adewale
      v. Garland, No. 20-1540 (1st Cir. Oct. 24, 2020).
              By no later than 5 p.m. on Friday, July 26, 2024, Respondent is ordered to provide to the
      Court, in detail, an explanation of how and why Petitioner was removed. Respondent shall also
      make all necessary inquiries and, at the same time, provide all information in its possession,
      custody, or control concerning (1) Petitioner's current location and his condition while in transit



                                                                                               EXHIBIT B
Case: 23-1426
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      back to the United States, including whether he is presently detained by authorities or otherwise,
      and (2) the expenses that Petitioner is expected to incur in returning to this country. Respondent's
      submission to this Court shall be made under the pains and penalties of perjury. Petitioner may,
      but is not required to, submit additional information documenting his travel expenses within 7 days
      of his return to the United States.

                                                           By the Court:

                                                           Maria R. Hamilton, Clerk

      cc: Donna Carr, Chief Clerk, Board of Immigration Appeals, Gilles R. Bissonnette, SangYeob
      Kim, Margaret Moran, Joseph Anthony O'Connell, Andrew Nathan O'Malley, Oil, Daniel V.
      Ward, Colleen S. Roberts, Marianne Staniunas, Michelle Marie Mlacker, Abigail Sophie Alfaro




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